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                                                 09/14/22 Page
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                                                                ofof
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 Case1:17-cr-00224-AT-CMS
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                                                 09/14/22 Page
                                                           Page22
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 Case1:17-cr-00224-AT-CMS
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                                           Filed04/01/19
                                                 09/14/22 Page
                                                           Page33
                                                                ofof
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 Case1:17-cr-00224-AT-CMS
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                                           Filed04/01/19
                                                 09/14/22 Page
                                                           Page44
                                                                ofof
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 Case1:17-cr-00224-AT-CMS
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                                                 09/14/22 Page
                                                           Page55
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